                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                           SOUTHWESTERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                          Plaintiff,               )
                                                   )
       vs.                                         )       No. 15-05007-01-CR-SW-SRB
                                                   )
ERNEST ANDREW BRITTEN,                             )
                                                   )
                          Defendant.               )


                       ACCEPTANCE OF PLEA OF GUILTY AND
                            ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Count Two and

admitted to Forfeiture Allegation contained in the Indictment filed on February 24, 2015, is now

Accepted and the Defendant is Adjudged Guilty of such offense. Sentencing will be set by

subsequent Order of the Court.




                                                         /s/ Stephen R. Bough
                                                        STEPHEN R. BOUGH
                                                   UNITED STATES DISTRICT JUDGE




Date: October 23, 2015




       Case 3:15-cr-05007-SRB          Document 46      Filed 10/23/15     Page 1 of 1
